                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE

    UNITED STATES OF AMERICA                      )
                                                  )
    v.                                            )       No. 2:15-CR-05000
                                                  )       JUDGE GREER
    DUSTIN McPHETRIDGE                            )

                MOTION TO REDACT OR SEAL PREVIOUSLY FILED
              PRO SE DOCUMENT (DOC. 36) AND ATTACHED EXHIBITS

           Dustin McPhetridge, by and through counsel, requests that previously filed pro se

    document (Doc. 36) and attached exhibits, as the pro se document includes personal

    identifying information, including her client’s home address, phone number, date of birth

    and social security number.      Per Rule 49.1, Fed. R. Crim. P., personal identifying

    information of this nature must be redacted from the filing itself and attachments. To

    protect her client’s identity, counsel seeks the sealing or redacting of these documents. 1

                                                  RESPECTFULLY SUBMITTED:

                                                  FEDERAL DEFENDER SERVICES OF
                                                  EASTERN TENNESSEE, INC.

                                           BY:    s/ Nikki C. Pierce
                                                  Nikki C. Pierce
                                                  BPR No. 018181
                                                  Federal Defender Services
                                                  219 West Depot Street, Suite 2
                                                  Greeneville, TN 37743
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    1
     Counsel separately files a motion to conduct a hearing to determine counsel’s status
    going forward given her client’s pro se filing.


Case 2:15-cr-05000-JRG-DHI Document 37 Filed 04/26/22 Page 1 of 1 PageID #: 218
